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                IN THE UNITED STATES DISTRICT COURT
                                                                   FILED
                    FOR THE DISTRICT OF MONTANA                      MAY 1 1 2016
                           BUTTE DIVISION                         Clerk, U S District Court
                                                                     District Of Montana
                                                                           Missoula


UNITED STATES OF AMERICA,
                                                  CR 15-37-BU-DLC
                     Plaintiff,
                                                        ORDER
       vs.


EDWARD RITZ CALLAHAN, NEIL
DEAN NEARY, EDWARD THOMAS
McINTEE, and WILLIAM THOMAS
PENGELLY,

                     Defendants.


      The United States having moved to dismiss Count VII of the Indictment

with prejudice and good cause appearing,

      IT IS HEREBY ORDERED that the United States Motion to Dismiss Count

VII (Doc. 113) is GRANTED. Count VII of the Indictment in this case is

DISMISSED WITH PREJUDICE.
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      Dated this _l_l_day of May, 2016.




                                     Dana L. Christensen, Chief Judge
                                     United States District Court

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